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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                                      CASE NO. 6:03-cr-065-Orl-19JGG
 JOHN C. PATTERSON,

        Defendant.



                                          ORDER

        This case is before the Court on the following motions:

        MOTION:       Defendant’s Motion for Recusal (Doc. No. 505, filed February
                      11, 2008); and

        MOTION:       Defendant’s Motion to Correct the Record (Doc No. 505, filed
                      February 11, 2008).

        Defendant has failed to offer a sufficient basis warranting recusal. Contrary to

 Defendant’s contentions, no secret, off-the-record proceedings, such as a bench trial, were

 held in this case. The docket sheet and record accurately reflect that Defendant entered a

 guilty plea on June 24, 2003, see Doc. No. 324, and was sentenced on October 6, 2003. (Doc.

 No. 325.) Defendant appealed, and the Eleventh Circuit Court of Appeals dismissed the

 appeal based on the appeal-waiver provision contained in the plea agreement. See Doc.

 No. 371.

        Defendant filed a 28 U.S.C. § 2255 motion to vacate, set aside, or correct an illegal

 sentence wherein he attacked the voluntariness of his plea. See Civil Case No. 6:06-cv-582-
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 Orl-19JGG, Doc. No. 1. Defendant’s section 2255 motion was denied with prejudice on

 January 9, 2007. Id. at Doc. No. 9. Defendant did not assert that a “secret” bench trial was

 conducted at any time during his direct appeal or his section 2255 proceedings. In sum,

 Defendant’s contentions are meritless.

        Accordingly, it is ORDERED:

        1.     Defendant’s Motion for Recusal (Doc. No. 505) is DENIED.

        2.     Defendant’s Motion to Correct the Record (Doc No. 505) is DENIED.

        DONE AND ORDERED at Orlando, Florida, this __14th___ day of February, 2008.




 Copies to:
 sc 2/14
 John C. Patterson
 Counsel of Record




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